                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF VIRGINIA
                              LYNCHBURG DIVISION

UNITED STATES OF AMERICA,                             )
AND COMMONWEALTH OF                                   )
VIRGINIA, ex rel. DWIGHT OLDHAM,                      )
                                                      )     Civil Action No. 6:18-cv-88
               Relator,                               )
                                                      )
v.                                                    )
                                                      )     JURY TRIAL DEMANDED
CENTRA HEALTH, INC.,                                  )
                                                      )
               Defendant.                             )

                                  AMENDED COMPLAINT

       Plaintiff-Relator Dwight S. Oldham, M.D., by and through undersigned counsel, brings

this action against Defendant Centra Health, Inc. (“Centra”), under the False Claims Act

(“FCA”), 31 U.S.C. §§ 3729-33, the Virginia Fraud Against Taxpayers Act, Va. Code §§ 8.01-

216.1, et seq., and on common law grounds outlined in more detail herein.

                                          Introduction

       1.      Centra, through its employees and subsidiary companies and entities, submitted

false claims to the United States government and Commonwealth of Virginia in connection with

breast imaging services by improperly and illegally controlling the referral process for the

treatment of newly diagnosed breast cancer patients, thereby allowing Centra to conduct

diagnostic imaging that was not medically required and without valid orders. Dr. Oldham sought

to better understand Centra’s unusually high utilization rates for several forms of oncology

diagnostic tests and better manage oncology care in order to prevent unnecessary testing and

billing. As a direct result of Dr. Oldham’s investigation into these problems, Centra unlawfully

retaliated against Dr. Oldham for his actions, thereby violating the anti-retaliation provisions of


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the FCA, the VFATA, and the contract between Dr. Oldham’s practice (Lynchburg Hemotology

Oncology Clinic, Inc., or “LHOC”) and Centra.

                                     Jurisdiction and Venue

       2.      This action arises under the False Claims Act, as amended, 31 U.S.C.§§ 3729-

3733. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331,

and subject matter jurisdiction under the federal False Claims Act, 31 U.S.C. § 3729, et seq.

       3.      The Court has supplemental jurisdiction to entertain the Virginia law claims

pursuant to 28 U.S.C. § 1367(a) and 31 U.S.C. § 3732(b).

       4.      This Court has personal jurisdiction of the Defendant because Centra can be

found in and transacts business in the Western District of Virginia.

       5.      Venue lies in this district under 28 U.S.C. § 1391(b) & (c) and 31 U.S.C. §

3732(a) because the Defendant transacts business and has committed acts in violation of 31

U.S.C. § 3729 in this district.

                                           The Parties

       6.      Plaintiff Dwight Oldham, M.D., is an adult citizen and resident of the

Commonwealth of Virginia.

       7.      Defendant Centra Health, Inc. is a Virginia corporation with its principal place of

business in Lynchburg, Virginia.

                                       Legal Framework

       8.      The Federal False Claims Act (“FCA”), 31 U.S.C. §§ 3729-3733, provides, inter

alia, that any person who (1) “knowingly presents, or causes to be presented, a false or

fraudulent claim for payment or approval,” or (2) “knowingly makes, uses, or causes to be made




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or used, a false record or statement material to a false or fraudulent claim,” is liable to the United

States for a civil monetary penalty plus treble damages. 31 U.S.C. § 3729(a)(1)(A)-(B).

       9.      The terms “knowing” and “knowingly” are defined to mean “that a person, with

respect to information (1) has actual knowledge of the information; (2) acts in deliberate

ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the truth or

falsity of the information.” 31 U.S.C. § 3729(b)(1)(A)(i)-(iii). Proof of specific intent to defraud

is not required. 31 U.S.C. § 3729(b)(1)(B).

       10.     The term “claim” means “any request or demand, whether under a contract or

otherwise, for money or property and whether or not the United States has title to the money or

property, that (1) is presented to an officer, employee, or agent of the United States; or (2) is

made to a contractor, grantee, or other recipient, if the money or property is to be spent or used

on the Governments behalf or to advance a Government program or interest, and if the United

States Government (a) provides or has provided any portion of the money or property requested

or demanded; or (b) will reimburse such contractor, grantee, or other recipient for any portion of

the money or property which is requested or demanded . . . .” 31 U.S.C. § 3729(b)(2)(A)(i)-(ii).

       11.     “[T]he term ‘material’ means having a natural tendency to influence, or be

capable of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

       12.     The Virginia Fraud Against Taxpayers Act (“VFATA”) provides, in part, that any

person who:

               (A)(1)     Knowingly presents, or causes to be presented, a false
               or fraudulent claim for payment or approval;

               (A)(2)      Knowingly makes, uses, or causes to be made or used, a
               false record or statement material to a false or fraudulent claim;

               [or]



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                (A)(3)      Conspires to commit a violation of subdivision 1, 2, 4,
                5, 6, or 7:

                [s]hall be liable to the Commonwealth for a civil penalty of not
                less than $5,500 and not more than $11,000, plus three times the
                amount of damages sustained by the Commonwealth.

Va. Code Ann. § 8.01-216.3.

          13.   The VFATA defines “knowing” and “knowingly” as meaning that “a person, with

respect to information, (i) has actual knowledge of the information; (ii) acts in deliberate

ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard of the truth

or falsity of the information” and requires no proof of specific intent to defraud. Va. Code Ann.

§ 8.01-216.3(C).

                                    Medicare/Medicaid Billing

          14.   Services provided to Medicare and other federal health care program beneficiaries

are only reimbursable if they are medically necessary. See 42 U.S.C. § 1395y(a)(1)(A) (“no

payment may be made under part A or part B of this subchapter for any expenses incurred for

items or services. . . are not reasonable and necessary for the diagnosis or treatment of illness or

injury or to improve the functioning of a malformed body member”); 42 C.F.R. § 411.15(k)(1);

Medicare Carrier’s Manual § 2049. Medicare and other federal health care programs only cover

medical services that are reasonable and necessary for the diagnosis or treatment of illness or

injury.

          15.   Accordingly, providers may only submit claims for government healthcare

reimbursement for “reasonable and necessary” medical services. In submitting claims, providers

make certain express certifications, including an assurance that the services were “provided

economically and only when, and to the extent, medically necessary.” 42 U.S.C. § 1320c-5(a)(1);

see also 42 U.S.C. § 1395n(a)(2)(B) (to receive payment for claims providers must certify that

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services were “medically required”). Moreover, in submitting reimbursement to obtain

reimbursement from Medicare or other Federal health care programs, health care providers

expressly certify “that the services shown on [the] form were medically indicated and necessary

for the health of the patient.” Thus, each time a claim for payment is submitted to a Federal

healthcare program, the provider expressly certifies that the services performed were medically

justified. In addition, each time a provider submits a claim, the provider impliedly certifies that

the service was provided in accordance with Federal and State statutes, regulations, and program

rules.

         16.      The Medicare Program Integrity Manual (“MPIM”), which provides guidance on

how to determine whether items or services are “reasonable and necessary for the diagnosis or

treatment of illness”, 1 instructs Medicare contractors to use the strongest evidence of medical

necessity available and provides a list of evidence in order of preference:

                  Published authoritative evidence derived from definitive
                  randomized clinical trials or other definitive studies, and General
                  acceptance by the medical community (standard of practice), as
                  supported by sound medical evidence based on:

               ○ Scientific data or research studies published in peer-reviewed
               medical journals;

               ○ Consensus of expert medical opinion (i.e., recognized authorities in
               the field); or

               ○ Medical opinion derived from consultations with medical
               associations or other health care experts.

         17.      MPIM § 13.7.1. The MPIM further provides:

                  Acceptance by individual health care providers, or even a limited
                  group of health care providers, normally does not indicate general
                  acceptance by the medical community. Testimonials indicating

1
 MPIM, CMS Pub. No. 100–08, Ch.13, available at http://www.cms.gov/Regualtions-
andGuidance/Manuals/Internet-Only-Manuals-IOMs.html.
                                                    5
               such limited acceptance, and limited case studies distributed by
               sponsors with financial interest in the outcome, are not sufficient
               evidence of general acceptance by the medical community. The
               broad range of available evidence must be considered, and its
               quality shall be evaluated before a conclusion is reached.

       18.     Knowingly causing the submission of claims that are ineligible for payment under

a federal health care program constitutes a violation of the FCA. Similarly, a claim for

“worthless” medical care violates the FCA because the government believes it is paying for

services or items that have medical value when, in fact, the services or items are essentially

worthless.

       19.     To be medically necessary, diagnostic procedures “must be ordered by the

physician who is treating the beneficiary, that is, the physician who furnishes a consultation or

treats a beneficiary for a specific medical problem and who uses the results in the management of

the beneficiary’s specific medical problem.” 42 C.F.R. § 410.32(a).

       20.     42 C.F.R. § 410.32(d)(3) further provides,

               (i) … Upon request by CMS, the entity submitting the claim must
               provide the following information:

                       (A)    Documentation of the order for the service billed
               (including information sufficient to enable CMS to identify and
               contact the ordering physician or nonphysician practitioner).

                      (B)    Documentation showing accurate processing of the
               order and submission of the claim.

                       (C)    Diagnostic or other medical information supplied to
               the laboratory by the ordering physician or nonphysician
               practitioner, including any ICD–9–CM code or narrative
               description supplied.

       21.     If adequate documentation is not supplied, CMS must deny the claim. Id. at

410.32(d)(3)(ii)(C).




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           22.   Federal healthcare programs may also require billing entities to supply such

documentation as may be deemed necessary to support coverage.

           23.   Every Medicare supplier is charged with knowledge of Medicare regulations and

with the understanding that Medicare does not provide reimbursement for services that are not

properly documented.

                                      LHOC/Centra Merger

           24.   Dr. Oldham worked with the Lynchburg Hematology Oncology Clinic (“LHOC”)

for several decades prior to its merger with Centra in 2014.

           25.   Under the merger with Centra Health, the staff of LHOC became employees of

Centra Health, but the physicians remained contractors with Centra under a professional services

agreement (“PSA”).

           26.   The Centra Health/LHOC PSA became effective on September 1, 2014.

           27.   Under the PSA, Centra also assumed control over all pharmaceutical purchasing,

and physicians were paid an incentive compensation based on productivity (using “relative value

units”).

           28.   Centra also paid physicians separately for serving as “medical director.” The

medical director contract involved performing tasks at a fixed compensation rate.

           29.   Dr. Oldham was the medical director of LHOC from 2014 until June 2017, when

Centra split the medical director position.

           30.   Under the PSA, if Centra asserts that a physician has breached any duties of

professional conduct, it may notify LHOC of this purported breach, and may only demand the

removal of the physician after the physician has thirty days to cure the breach:

                 The Group specifically agrees and covenants that in the event
                 Centra claims that a breach of this section by a physician has

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               occurred, Centra shell so notify the group in writing of the alleged
               breach and such breaching physician shall have 30 days after
               notice to cure such breach. If said breach is not cured within 30
               days after such notice, Centra may remove such position from
               serving as medical director or providing clinical services Or
               terminate this agreement without further notice, and without
               further obligation with regard to compensation.

PSA, Section 8.

       31. A copy of the relevant PSA is attached as Exhibit 1 and incorporated herein.

                                     Centra Breast Imaging

       32.     Centra Breast Imaging is composed of a group of five physicians who are

employed by Centra Medical Group, a division of Centra Health. They practice at multiple sites

including Virginia Baptist Hospital, Lynchburg General Hospital, Bedford Memorial Hospital,

Southside Community Hospital, and two outpatient sites in Lynchburg; Timberlake Road and

Tate Springs Road. Each site has a unique National Provider Identification (NPI) number, but all

are owned by Centra Health.

       Improper Pre-Authorization Form Circumvents Physician-Ordered Radiology

       33.     Centra Breast Imaging uses a “Mammography Appointment Request Form”

common to all sites. All of these forms are sent to the ordering physician for signature with the

box "Any diagnostic breast exam procedure deemed necessary" already checked. A redacted

example of this form is attached as Exhibit 2.

       34.     Centra Breast Imaging used this pre-authorization form even prior to the

Centra/LHOC merger. Centra uses nurse “breast navigators,” who control the referrals of new

patients as outlined in Exhibit 1. Breast Navigators are nurses assigned to each patient to assist

them through breast cancer treatment. Centra used their control of the referral process to exclude

certain physicians from seeing breast cancer patients. The control of the referral process also



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intimidated physicians who participated in the breast program into tolerating overutilization of

imaging by Centra.

        35.     The Medicare Benefit Policy Manual Chapter 15 outlines the proper parameters

for diagnostic imaging and testing in Section 80. Sections 80.6.1 to 80.6.4 cover the appropriate

ordering of follow-up diagnostic imaging studies. The definition of an order, the ordering

physician, interpreting physician, and testing facility are specified in section 80.6.1.

        36.     Centra Breast Imaging group would be considered a “testing facility,” under this

Medicare definition.

        37.     CMS updated Section 80 of its policy manual specifically to stop the routine

ordering of follow-up testing by radiologist interpreting physicians because of the unnecessary

testing that resulted.

        38.     The CMS Manual outlines rules for testing facilities and interpreting physicians to

furnish additional diagnostic tests in sections 80.6.3 and 80.6.4. Centra’s requisition form

marked "Any Diagnostic Breast Exam deemed necessary" clearly violates the Medicare policy in

80.6.3 and 80.6.4. Centra’s form is not specific at all; it allows the radiologist at Centra Breast

Imaging (an interpreting physician), not the treating physician, to choose what diagnostic

imaging and testing should occur, in clear violation of the CMS manual.

        39.     A valid claim for diagnostic imaging requires a valid order (Per Section 80.6.1),

thus submitting Medicare claims for payment for diagnostic imaging without a valid order is a

violation of the CMS manual and the False Claims Act.

      Centra Performs Medically Inappropriate and Unnecessary Diagnostic Imaging

        40.     National Coverage Determination (NCD) 220.4 contains the Medicare policy for

screening mammography. It covers the coding of screening mammography with computer



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assisted detection (CAD) and screening digital breast tomosynthesis. Screening services do not

require an ordering physician. CMS has also created an exception that allows the interpreting

physician to order a diagnostic mammogram with an abnormal screening study (42 CFR 410.32).

       41.     Medicare does not recognize a screening breast ultrasound.

       42.     There is no CPT code for a screening ultrasound, and there is no mention of it in

Medicare's NCD 220.4.

       43.     The National Cancer Center Network (“NCCN”) is a nonprofit group of cancer

centers which is the developer of the most widely used guidelines for cancer care.

       44.     Medicare recognizes NCCN compendia in determining the appropriate use of

drug therapy, and NCCN guidelines are widely used by Medicare in the development of its

National Coverage Determinations. Compliance with NCCN guidelines is required for

accreditation of cancer programs by the American College of Surgeons.

       45.     NCCN guidelines specifically recommend against the routine use of breast

ultrasound for screening women with dense breasts due to high number of false positive tests

leading to unnecessary breast biopsies. A copy of these guidelines is attached as Exhibit 3.

       46.     Breast ultrasound is a diagnostic study and orders for breast ultrasound should be

compliant with the Medicare Benefit Policy Manual Chapter 15, sections 80.6.1-4. See Exhibit

6.

       47.     Despite the clear NCCN guidelines and CMS’ non-recognition of using

ultrasound as a screening (rather than diagnostic) procedure, Centra routinely using diagnostic

breast ultrasound to screen women with increased breast density.




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       48.     Diagnostic mammograms are appropriate as outlined in 42 CFR 410.32 when they

are conducted to follow-up on specfically identified abnormalities. This regulation does not

provide justification for an alternative screening program.

       49.     Increased breast density is a common condition (30 to 40% of patients).

Diagnostic ultrasound and diagnostic mammograms are NOT appropriate for screening women

with dense breasts. Beyond being simply medically inappropriate, they are being conducted

without a valid order from the treating physician.

       50.     Dr. Oldham raised concerns regarding the use of screening ultrasound in August

2016, and Dr. Perroto acknowledged Centra’s use of screening ultrasound in her August 14,

2016 email. (Exhibit 4).

       51.     The Center for Medicare Services (CMS) publishes data for utilization of imaging

in its Hospital Compare Report at Medicare.gov. The Hospital Compare Report for 2016 and

2017 both showed utilization of ultrasound and MRI at after screening mammography at Centra

to be significantly higher than the national average.

       52.     Relator Dr. Oldham has recently become aware that there is a possibility that the

CMS Hospital Compare Reports of 2016 and 2017 contained inaccuracies. Dr. Oldham had no

reason to doubt the accuracy of the Hospital Compare Reports in 2017 when he was making a

good faith effort to implement the Oncology Care Model.

  Centra is Inappropriately Using Breast MRI Without Orders from a Treating Physician

       53.     In addition to the improper use of breast ultrasound as a screening procedure,

Centra is also systematically and improperly using breast MRI after diagnosis of breast cancer

without a valid order from the treating physician.




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          54.   Neither the NCCN guideline, nor the American College of Breast Surgeon's

guideline for imaging after a diagnosis of breast cancer, recommend the routine use of breast

MRI prior to surgery.

          55.   The NCCN guideline recommends MRI for mammographically occult tumors.

          56.   The American College of Breast Surgeons recommend MRI if needed for surgical

planning.

          57.   Breast MRI after a diagnosis of breast cancer on biopsy should be ordered by the

surgeon who is the treating physician. Instead, Centra radiologists are routinely ordering this

procedure despite their status as interpreting physicians.

          58.   The national average for the use of breast MRI after cancer diagnosis is one in

three. Centra's was 74% in 2016.

          59.   While there are fewer total instances of breast MRI than improper screening

ultrasound, the number of unnecessary breast MRIs conducted by Centra is between 50 and 100

a year.

          60.   Both breast ultrasound for dense breasts and breast MRI after a positive biopsy

for cancer are very sensitive but not specific for cancer. In other words, because of their lack of

specificity these diagnostic tests lead to unnecessary breast biopsies for benign breast

abnormalities. This is specifically addressed in the NCCN guideline.

          61.   According to relevant medical literature, 1000 breast ultrasounds will lead to 50

to 100 breast biopsies, half of which are unnecessary.

          62.   Breast MRI leads to a similar percentage of unnecessary biopsies but also

decreases the rate of lumpectomy and increases the mastectomy rate for patients who have been

diagnosed with breast cancer.



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       63.     The false claims submitted by Centra to the United States and the Commonwealth

of Virginia were material because under CMS guidance, proper orders are required for payment.

In other words, whether or not the diagnostic imaging was medically necessary and ordered by a

proper treating physician are capable of influence the government’s funding decision.

               Internal Efforts to Correct Overutilization of Breast Radiology

       64.     After the 2017 split in the medical director position, Dr. Oldham remained

responsible for supervising the implementation of the “Oncology Care Model” outlined in the

Affordable Care Act (“ACA”).

       65.     During Dr. Oldham’s tenure as the medical director, he participated in a weekly

Breast Conference, which was typically attended by medical oncology, radiation oncology,

surgery, breast navigators, pathology, breast imaging, and mammography.

       66.     During these meetings, Dr. Oldham raised concerns with the number of breast

MRIs being ordered. Dr. Oldham objected to individual patients receiving breast MRI when they

had already elected to have a mastectomy or before they had seen a surgeon. Ordering MRI in

those instances were wasteful and unhelpful because they did not change the course of treatment.

       67.     In 2015, Centra agreed to participate in the Oncology Care Model (OCM) at Dr.

Oldham’s request. The OCM is a Medicare Advanced Payment Model.

       68.     Part 1 of the OCM obligates participating organizations to certain quality

improvement activities. Medicare provides OCM practices a monthly payment of $160 per

month per patient for quality improvement activities. This is the Monthly Enhanced Oncology

Services (MEOS) payment. Part 2 of the OCM requires participating organizations to

demonstrate cost savings as a result of the quality improvement activities. The first OCM cost

reporting period for which cost saving was expected was July 1, 2017 through December 1, 2017



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compared to the previous 12 month baseline. Practices that demonstrated cost savings were

eligible for a performance based payment (PBP). The design of the OCM did not require

successful cost savings to collect payments MEOS.

       69.     Dr. Oldham took note of Centra’s unusually high number of diagnostic breast

imaging studies in the first Medicare Hospital Compare report in 2016. This report was a product

of the Affordable Care Act (“ACA”), which attempted to identify unnecessary medical spending.

       70.     The report showed Centra to be an outlier with high rates of utilization for

ultrasound and MRI after screening mammogram.

       71.     Dr. Oldham created a meeting that he called the “Oncology Service Line

Meeting.” The purpose of the meeting was to organize efforts to make Centra eligible for PBP

under the OCM. This included efforts to reduce unnecessary utilization in breast imaging.

       72.     Dr. Oldham also organized this meeting in order to bypass the Centra

administrators responsible for Oncology. These individuals were Curt Baker, Vice President

Oncology, and Carol Riggins, Managing Director for Pearson Cancer Center (“PCC”).

       73.     Disturbingly to Dr. Oldham, any proposals for cost savings arising related to

OCM had to be approved by Curt Baker and Carol Riggins, the administrators who were

responsible for the nurse navigators and Centra Breast imaging and the system of overutilization

that was in place.

       74.     Dr. Oldham held two meetings of the Oncology Service Line in 2016. The

minutes of the second meeting from August 12, 2016 include the discussion of breast imaging

and the first Hospital Compare report. The agenda and notes from this meeting are attached as

Exhibit 5.




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       75.     Centra cancelled subsequent meetings of the Oncology Service Line Council until

Dr. Oldham could be replaced as Medical Director of Medical Oncology.

       76.     After the Service Line Meetings, Dr. Oldham had discussions with other

physicians about an organized effort to boycott the signing of the pre-authorization requisition

form that gave Centra Breast Imaging with the preselected option of unlimited additional testing.

It was apparent from those discussions that no other physician understood the issue or was

willing to risk losing referrals from Centra Breast Imaging.

       77.     In the fall of 2016, Dr. Oldham met with E.W. Tibbs, the former CEO of Centra

Health, to discuss the 2016 Hospital Compare Report on breast imaging and Centra's lack of

progress in meeting financial targets in OCM. Tibbs assured Dr. Oldham at the meeting that he

would take corrective action.

       78.     Upon information and belief, Tibbs took the following steps: (1) Curt Baker was

promoted to Chief Nursing Officer (a Senior Vice President) and no longer responsible for

Oncology; (2) Centra demanded that Dr. Oldham be removed as Medical Director for Medical

Oncology as part of LHOC's contract negotiation for renewal of its PSA with Centra. (The PSA

was renewed in June of 2017 and Dr. Oldham gave up Medical Director duties, except those

specifically related to the OCM); (3) Centra took no action as to Carol Riggins as Managing

Director of PCC, and there were no changes at Centra Breast Imaging.

       79.     In August of 2017 Carol Riggins filed a complaint against Dr. Oldham for

disruptive behavior with Centra Human Resources. Since Dr. Oldham is not a Centra Employee

this complaint was forwarded to the Centra medical staff.




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        80.      Dr. Oldham met with a subcommittee of the Centra Medical Staff Executive

Committee (“MEC”), at which time Dr. Oldham agreed that he had made unkind remarks about

Riggins outside her presence.

        81.      Despite the innocuous nature of the comments, Dr. Oldham received a letter of

reprimand from the MEC.

        82.      While Dr. Oldham did not agree with the conclusions of that letter, he did not

respond to it.

       83.       In November of 2017, Dr. Oldham reviewed the preliminary financial data for the

Oncology Care Model. Centra was not eligible for a performance based payment. It was apparent

that Centra was planning to participate in OCM, collect MEOS payments while continuing to

over utilize imaging and other services. This maximized revenue to Centra.

       84.       November 23, 2017 was the Friday after Thanksgiving and the Centra Medical

Oncology Office was closed for patient care. Katie Kirby (R.N.), Director of Practice Operations

for LHOC, was present that day. Dr. Oldham was at the office to review his files including his

calendar, old emails, and minutes of previous meetings. Dr. Oldham was preparing to file

complaints with the Centra Board of Directors, The Joint Commission on Accreditation of

Hospitals, and Medicare related to the Oncology Service Line Meetings and over-utilization of

breast imaging.

       85.       In the course of a conversation with Ms. Kirby that day, she asked Dr. Oldham

why he was in the office. Dr. Oldham told her that cost savings in OCM were a hopeless

undertaking with the current administration and that Centra was continuing a pattern of over-

utilization and refusing to implement clinical pathways or effective case management




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procedures. Dr. Oldham told her that he was preparing complaints and that he hoped it would

lead to the replacement of Mr.Tibbs, Mr Baker, and Ms Riggins.

       86.     On November 28, 2017 – two business days later - Centra banned Dr. Oldham

from setting foot at any Centra facilities during a meeting with Karen Ackerman (Centra V.P. for

Human Resources) and Michael Elliott (Chief Operating Officer for Centra Health). The stated

reason was for threating behavior.

       87.     This stated reason was a pretext; the true reason for Dr. Oldham’s exclusion was

his stated intention of reporting Centra’s fraudulent activities.

       88.     Dr. Oldham communicated his concerns about Centra’s illegal billing activities in

a December 5, 2017 email to the Chair of the Centra Board of Directors, Walker Syndor.


                                       V. Causes of Action


                                            COUNT I
                      Illegal Retaliation in Violation of 31 U.S.C. 3730(h)


       I.      Plaintiff incorporates the foregoing paragraphs as if fully set forth in Count I.

       II.     As a result of the Plaintiff’s effort to prevent Centra’s False Claims Act

violations, Centra illegally retaliated against Dr. Oldham in the terms and conditions of his

employment.

       III.    As a result of Centra’s illegal retaliation, Dr. Oldham suffered lost income, loss of

professional standing and reputation, and other damages to be proven at trial.

                                            COUNT II
                  Illegal Retaliation in Violation of Va. Code Ann. 8.01-216.8

       IV.     Plaintiff incorporates the foregoing paragraphs as if fully set forth in Count II.




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       V.      As a result of the Plaintiff’s effort to prevent Centra’s Virginia Fraud Against

Taxpayers Act violations, Centra illegally retaliated against Dr. Oldham in the terms and

conditions of his employment.

       VI.     As a result of Centra’s illegal retaliation, Dr. Oldham suffered lost income, loss of

professional standing and reputation, and other damages to be proven at trial.

                                           COUNT III
                                        Breach of Contract

       VII.    Plaintiff incorporates the foregoing paragraphs as if fully set forth in Count III.

       VIII.   Plaintiff Dr. Oldham was a beneficiary of the PSA between LHOC and Centra

and served as the first medical director under the PSA.

       IX.     Under the PSA, Centra was only authorized to terminate a physician after

following a specific procedure outlined in Section 8 of the PSA, which included giving thirty

days to cure any breach and affording the physician the opportunity to appeal the denial of

medical privileges, seek review of the decision, and utilize the grievance process.

       X.      By violating the provisions of the PSA, Centra breached the terms of the PSA,

which resulted in Dr. Oldham suffering significant damages to be determined at trial.


                                         Prayer for Relief

       WHEREFORE, the Plaintiff prays that judgment be entered in his favor and against the

Defendant as follows:

       1.      That the Plaintiff be granted reinstatement with seniority pursuant to 31 U.S.C.

3730(h), as well as two times his back pay, interest on the back pay, and compensation for any

special damages sustained as a result of the discrimination to be proven at trial, including

litigation costs and reasonable attorneys’ fees;



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        2.     That the Plaintiff be granted reinstatement with seniority pursuant to Va. Code

Ann. 8.01-216.8, as well as two times his back pay, interest on the back pay, and compensation

for his special damages to be proven at trial, including litigation costs and reasonable attorneys’

fees;

        3.     That the Plaintiff be awarded the maximum amount allowed pursuant to 31

U.S.C. § 3730(d) and Va. Code Ann. 8.01-216.7;

        4.     That the Plaintiff be awarded all reasonable attorneys’ fees and costs, pursuant to

31 U.S.C. § 3730(d)(1), 31 U.S.C. § 3730(d)(2), and Va. Code Ann. 8.01-216.7;

        5.     That in the event that the United States and/or Commonwealth of Virginia

proceeds with this action, the Plaintiff, for bringing this action, be awarded an amount of at least

fifteen percent but not more than twenty five percent of the proceeds of any award or the

settlement of the claims;

        6.     That the Plaintiff be awarded pre-judgment and post-judgment interest; and

        7.     The Court award such other and further relief as is just, equitable, and proper.



Plaintiff requests a jury on all issues so triable.

August 11, 2020


                                                      DWIGHT S. OLDHAM


                                                      By:   /s/_John R. Thomas, Jr.
                                                            John R. Thomas, Jr.
                                                            Counsel for the Plaintiff


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